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                    EXHIBIT C
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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 AZURITY PHARMACEUTICALS, INC.,                     )
                                                    )
                       Plaintiff,                   )
                                                    )
         v.                                         )    C.A. No. 21-1286 (MSG)
                                                    )    CONSOLIDATED
 BIONPHARMA INC., et al.,                           )
                                                    )
                       Defendants.                  )
      PLAINTIFF AZURITY PHARMACEUTICALS, INC.’S SUPPLEMENTAL
  OBJECTIONS AND RESPONSES TO DEFENDANT BIONPHARMA’S FIRST SET OF
         REQUESTS FOR PRODUCTION OF DOCUMENTS AND THINGS

        Pursuant to Federal Rules of Civil Procedure 26 and 33, and the Local Rules of the District

 of Delaware, Plaintiff Azurity Pharmaceuticals, Inc. (“Azurity” or “Plaintiff”), by and through its

 counsel, hereby supplements Azurity’s Objections and Responses to Defendant Bionpharma Inc’s

 (“Bionpharma” or “Defendant”) First Set of Requests for Production of Documents and Things

 (“Requests”), served March 21, 2022.

                                     GENERAL OBJECTIONS

        Azurity makes the following General Objections to Bionpharma’s Requests. These General

 Objections are incorporated by reference into Azurity’s responses to each individual request, to

 the extent applicable, whether or not stated in any individual response. By providing a specific

 response to any interrogatory, Azurity does not waive or otherwise limit these General Objections.

 Furthermore, reference to any of these General Objections in any specific response shall not waive

 or otherwise limit the applicability of all these General Objections to each and every response.

 Azurity has already produced thousands of pages of material responsive to these Requests,

 including in the previous patent litigations and the present suits. Azurity reserves all objections

 and all other questions regarding competency, relevance, authenticity, materiality, privilege, or
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 admissibility of such documents or materials as evidence in this suit or any other proceeding,

 action, or trial. By agreeing to produce any documents or other materials as may be in its

 possession, custody, or control that are responsive to certain interrogatories, Azurity makes no

 representation as to whether such documents or other materials actually exist. Agreement to

 produce and/or production of documents or other materials does not waive any objections asserted.

        Azurity incorporates by reference its Preliminary Statement, General Objections, and its

 Objections to Bionpharma’s Definitions and Instructions set forth in its Objections and Responses

 to Bionpharma’s First Set of Requests for Production (Nos. 1-68) and Azurity’s Responses and

 Objections to Bionpharma’s First Set of Interrogatories (Nos. 1-4) both served on April 20, 2022,

 Azurity’s Objections and Responses to Bionpharma’s Second Set of Requests for Production (Nos.

 69-99) served on June 27, 2022, and Azurity’s Objections and Responses to Bionpharma’s Second

 Set of Interrogatories (Nos. 5-9) served on July 22, 2022.

                   SUPPLEMENTAL OBJECTIONS AND RESPONSES
                        TO REQUESTS FOR PRODUCTION

 REQUEST FOR PRODUCTION NO. 11:

        Documents sufficient to show the ownership interest of NovaQuest in Azurity and CoreRx.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 11:

        Azurity incorporates by reference its General Statement, General Objections, and

 Objections to Bionpharma’s Definitions, Supplemental Definitions, and Instructions set forth above

 as if fully stated herein. Azurity objects to this request as vague, ambiguous, indefinite,

 unintelligible, and unclear as to the information sought, including “ownership interest.” Azurity

 objects to this request to the extent it seeks Privileged Documents. Azurity objects to this request

 as overbroad, unduly burdensome, and not proportional to the needs of the case. Azurity objects to

 this request on the ground that it is duplicative of documents already in Bionpharma’s possession,



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 custody, or control. Azurity objects to this request on the ground that it seeks production of

 documents that are not within Azurity’s possession, custody, or control. Azurity objects to this

 request on the grounds that it seeks the production of documents and things that contain proprietary

 business information, trade secrets, or other confidential information. Azurity objects to this request

 to the extent that it seeks the confidential information of a third party, including information which

 is subject to a confidentiality agreement or protective order. Azurity objects to this request to the

 extent it is unreasonably cumulative and/or duplicative of other discovery requests. For example,

 the documents requested herein are duplicative of at least Request Nos. 12, 13, 14, 18, and 27.

 Azurity objects to this Request to the extent that it seeks information related to Bionpharma’s

 Antitrust Counterclaims.

        Pursuant to and without waiving the foregoing objections, Azurity will not produce

 documents and things responsive to this request.

 SUPPLEMENTAL RESPONSE:

        Notwithstanding and without waiving its General and Specific Objections, Azurity

 responds that, now that the parties’ joint agreement to stay antitrust discovery has been terminated

 and the Court has ruled on all pending motions under Fed. R. Civ. P. 12, Azurity will produce

 responsive, non-privileged documents sufficient to show NovaQuest’s ownership of Azurity to the

 extent they exist and can be located after a reasonable search.

 REQUEST FOR PRODUCTION NO. 12:

       Documents sufficient to show organizational structure of, and corporate relationship
 between, Azurity, NovaQuest, and CoreRx.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 12:

        Azurity incorporates by reference its General Statement, General Objections, and Objections

 to Bionpharma’s Definitions, Supplemental Definitions, and Instructions set forth above as if fully



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 stated herein. Azurity objects to this request as vague, ambiguous, indefinite, unintelligible, and

 unclear as to the information sought, including as to “organizational structure,” and “corporate

 relationship between.” Azurity objects to this request to the extent it seeks Privileged Documents.

 Azurity objects to this request as overbroad, unduly burdensome, and not proportional to the needs

 of the case. Azurity objects to this request on the ground that it seeks production of documents that

 are not within Azurity’s possession, custody, or control. Azurity objects to this request on the

 grounds that it seeks the production of documents and things that contain proprietary business

 information, trade secrets, or other confidential information. Azurity objects to this request to the

 extent that it seeks the confidential information of a third party, including information which is

 subject to a confidentiality agreement or protective order. Azurity objects to this request to the extent

 it is unreasonably cumulative and/or duplicative of other discovery requests. For example, the

 documents requested herein are duplicative of at least Request Nos. 11, 13, 14, 18, 27. Azurity

 objects to this Request to the extent that it seeks information related to Bionpharma’s Antitrust

 Counterclaims.

         Pursuant to and without waiving the foregoing objections, Azurity will not produce

 documents and things responsive to this request.

 SUPPLEMENTAL RESPONSE:

         Notwithstanding and without waiving its General and Specific Objections, Azurity

 responds that, now that the parties’ joint agreement to stay antitrust discovery has been terminated

 and the Court has ruled on all pending motions under Fed. R. Civ. P. 12, Azurity will produce

 responsive, non-privileged documents sufficient to show the relevant organizational structure of

 Azurity and relationship between NovaQuest and Azurity to the extent they exist and can be




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 located after a reasonable search. Azurity is not in possession of documents with respect to the

 relationship between third parties NovaQuest and CoreRx.

 REQUEST FOR PRODUCTION NO. 13:

         Documents sufficient to show the ownership of Azurity, NovaQuest, and CoreRx.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 13:

         Azurity incorporates by reference its General Statement, General Objections, and Objections

 to Bionpharma’s Definitions, Supplemental Definitions, and Instructions set forth above as if fully

 stated herein. Azurity objects to this request as vague, ambiguous, indefinite, unintelligible, and

 unclear as to the information sought, including “ownership of.” Azurity objects to this request to the

 extent it seeks Privileged Documents. Azurity objects to this request as overbroad, unduly

 burdensome, and not proportional to the needs of the case. Azurity objects to this request on the

 ground that it seeks production of documents that are not within Azurity’s possession, custody, or

 control. Azurity objects to this request on the grounds that it seeks the production of documents and

 things that contain proprietary business information, trade secrets, or other confidential information.

 Azurity objects to this request to the extent that it seeks the confidential information of a third party,

 including information which is subject to a confidentiality agreement or protective order. Azurity

 objects to this request to the extent it is unreasonably cumulative and/or duplicative of other discovery

 requests. For example, the documents requested herein are duplicative of at least Request Nos. 11,

 12, 14, 18, and 27. Azurity objects to this Request to the extent that it seeks information related to

 Bionpharma’s Antitrust Counterclaims.

         Pursuant to and without waiving the foregoing objections, Azurity will not produce

 documents and things responsive to this request.




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 SUPPLEMENTAL RESPONSE:

        Notwithstanding and without waiving its General and Specific Objections, Azurity

 responds that, now that the parties’ joint agreement to stay antitrust discovery has been terminated

 and the Court has ruled on all pending motions under Fed. R. Civ. P. 12, Azurity will produce

 relevant, non-privileged documents sufficient to show the requested information with respect to

 Azurity to the extent they exist and can be located after a reasonable search.

 REQUEST FOR PRODUCTION NO. 14:

         All documents and things concerning relationships, agreements, and communications
 between Azurity and either NovaQuest or CoreRx or both (or any affiliate or subsidiary thereof)
 as they relate to the Enalapril Liquid Patents, Related Patent Applications, Epaned, and/ or NDA
 No. 208686.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 14

        Azurity incorporates by reference its General Statement, General Objections, and

 Objections to Bionpharma’s Definitions, Supplemental Definitions, and Instructions set forth above

 as if fully stated herein. Azurity objects to this request as overbroad, unduly burdensome, and not

 proportional to the needs of the case, especially with regards to the phrases “[a]ll documents and

 things” and “any affiliate or subsidiary thereof.” Azurity objects to this request as vague,

 ambiguous, indefinite, unintelligible, and unclear as to the information sought, including as to

 “affiliate” and “subsidiary.” Azurity objects to this request to the extent it seeks Privileged

 Documents. Azurity objects to this request on the ground that it seeks production of documents that

 are not within Azurity’s possession, custody, or control. Azurity objects to this request on the

 grounds that it seeks the production of documents and things that contain proprietary business

 information, trade secrets, or other confidential information. Azurity objects to this request to the

 extent that it seeks the confidential information of a third party, including information which is

 subject to a confidentiality agreement or protective order. Azurity objects to this request to the



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 extent it is unreasonably cumulative and/or duplicative of other discovery requests. For example,

 the documents requested herein are duplicative of at least Request Nos. 11, 12, 13, 18, and 27.

 Azurity objects to this Request to the extent that it seeks information related to Bionpharma’s

 Antitrust Counterclaims.

        Pursuant to and without waiving the foregoing objections, Azurity will not produce

 documents and things responsive to this request.

 SUPPLEMENTAL RESPONSE:

        Notwithstanding and without waiving its General and Specific Objections, Azurity

 responds that, now that the parties’ joint agreement to stay antitrust discovery has been terminated

 and the Court has ruled on all pending motions under Fed. R. Civ. P. 12, Azurity will produce non-

 privileged documents responsive to this request to the extent they exist and can be located after a

 reasonable search.

 REQUEST FOR PRODUCTION NO. 19:

        All documents and things referring or relating to any valuations of the indemnification
 granted by Azurity to CoreRx in the settlement agreement between Azurity and CoreRx regarding
 Third Wave Patents.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 19:

        Azurity incorporates by reference its General Statement, General Objections, and

 Objections to Bionpharma’s Definitions, Supplemental Definitions, and Instructions set forth

 above as if fully stated herein. Azurity objects to this request as overbroad, unduly burdensome,

 and not proportional to the needs of the case, especially with regards to the phrases “[a]ll documents

 and things” and “any valuations.” Azurity objects to this request as vague, ambiguous, indefinite,

 unintelligible, and unclear as to the information sought, including as to “valuations,”

 “indemnification,” and “the settlement agreement.” Azurity objects to this request to the extent it

 seeks Privileged Documents. Azurity objects to this request on the ground that it seeks production


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 of documents that are not within Azurity’s possession, custody, or control. Azurity objects to this

 request on the grounds that it seeks the production of documents and things that contain proprietary

 business information, trade secrets, or other confidential information. Azurity objects to this request

 to the extent that it seeks the confidential information of a third party, including information which

 is subject to a confidentiality agreement or protective order. Azurity further objects to this request as

 premature to the extent it calls for information that is the subject of expert discovery. Azurity objects

 to this request to the extent it is unreasonably cumulative and/or duplicative of other discovery

 requests. For example, the documents requested herein are duplicative of at least Request Nos. 15,

 20, 25, and 26. Azurity objects to this Request to the extent that it seeks information related to

 Bionpharma’s Antitrust Counterclaims.

         Pursuant to and without waiving the foregoing objections, Azurity will not produce

 documents and things responsive to this request.

 SUPPLEMENTAL RESPONSE:

         Notwithstanding and without waiving its General and Specific Objections, Azurity

 responds that, now that the parties’ joint agreement to stay antitrust discovery has been terminated

 and the Court has ruled on all pending motions under Fed. R. Civ. P. 12, Azurity will not produce

 documents and things responsive to this request at least because it is unclear what information

 Bionpharma seeks. Azurity is available to meet and confer to clarify the scope of this request.

 REQUEST FOR PRODUCTION NO. 20:

        All documents and things concerning the Azurity-CoreRx LSA, including any drafts of the
 Azurity-CoreRx LSA.

 RESPONSE TO REQUEST FOR PRODUCTION NO. 20:

         Azurity incorporates by reference its General Statement, General Objections, and

 Objections to Bionpharma’s Definitions, Supplemental Definitions, and Instructions set forth



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  above as if fully stated herein. Azurity objects to this request as overbroad, unduly burdensome,

  and not proportional to the needs of the case, especially with regards to the phrases “[a]ll documents

  and things” and “any valuations.” Azurity objects to this request as vague, ambiguous, indefinite,

  unintelligible, and unclear as to the information sought, including as to “valuations,”

  “indemnification,” and “the settlement agreement.” Azurity objects to this request on the ground that

  it seeks production of documents that are not within Azurity’s possession, custody, or control.

  Azurity objects to this request on the grounds that it seeks the production of documents and things

  that contain proprietary business information, trade secrets, or other confidential information.

  Azurity objects to this request to the extent that it seeks the confidential information of a third party,

  including information which is subject to a confidentiality agreement or protective order. Azurity

  further objects to this request as premature to the extent it calls for information that is the subject of

  expert discovery. Azurity objects to this request to the extent it is unreasonably cumulative and/or

  duplicative of other discovery requests. For example, the documents requested herein are duplicative

  of at least Request Nos. 15, 19, 25, and 26. Azurity objects to this Request to the extent that it seeks

  information related to Bionpharma’s Antitrust Counterclaims.

          Pursuant to and without waiving the foregoing objections, Azurity has already produced

  the Litigation Settlement Agreement with CoreRx. Azurity will not produce additional documents

  and things responsive to this request.

  SUPPLEMENTAL RESPONSE:

          Notwithstanding and without waiving its General and Specific Objections, Azurity

  responds that, now that the parties’ joint agreement to stay antitrust discovery has been terminated

  and the Court has ruled on all pending motions under Fed. R. Civ. P. 12, Azurity will produce non-




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  privileged documents responsive to this request to the extent they exist and can be located after a

  reasonable search.

  REQUEST FOR PRODUCTION NO. 21:

        All documents and communications relating to actual or potential generic competition to
  Epaned.

  RESPONSE TO REQUEST FOR PRODUCTION NO. 21:

          Azurity incorporates by reference its General Statement, General Objections, and

  Objections to Bionpharma’s Definitions, Supplemental Definitions, and Instructions set forth

  above as if fully stated herein. Azurity objects to this request as overbroad, unduly burdensome,

  and not proportional to the needs of the case, especially with regards to the phrase “[a]ll documents

  and communications.” Azurity objects to this request as vague, ambiguous, indefinite,

  unintelligible, and unclear as to the information sought, including as to “actual,” “potential,” and

  “generic competition.” Azurity objects to this request to the extent it seeks Privileged Documents.

  Azurity objects to this request on the grounds that it seeks the production of documents and things

  that contain proprietary business information, trade secrets, or other confidential information.

  Azurity further objects to this request as premature to the extent it calls for information that is the

  subject of expert discovery. Azurity objects to this request on the ground that it seeks production of

  documents that are not within Azurity’s possession, custody, or control. Azurity objects to this

  request to the extent it is unreasonably cumulative and/or duplicative of other discovery requests.

  For example, the documents requested herein are duplicative of at least Request Nos. 22, 24, 25, 26,

  44, 45, 46, 47, 48, 49, 51, 53, 60, 61, 62, and 63. Azurity objects to this Request to the extent that it

  seeks information related to Bionpharma’s Antitrust Counterclaims.

          Pursuant to and without waiving the foregoing objections, Azurity will not produce

  documents and things responsive to this request.



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  SUPPLEMENTAL RESPONSE:

         Notwithstanding and without waiving its General and Specific Objections, Azurity

  responds that, now that the parties’ joint agreement to stay antitrust discovery has been terminated

  and the Court has ruled on all pending motions under Fed. R. Civ. P. 12, Azurity will produce

  relevant, non-privileged documents responsive to this request to the extent they exist and can be

  located after a reasonable search.

  REQUEST FOR PRODUCTION NO. 22:

        All documents and communications with NovaQuest relating to Bionpharma,
  Bionpharma’s ANDA Product, or any actual or potential competition to Epaned.

  RESPONSE TO REQUEST FOR PRODUCTION NO. 22:

         Azurity incorporates by reference its General Statement, General Objections, and

  Objections to Bionpharma’s Definitions, Supplemental Definitions, and Instructions set forth above

  as if fully stated herein. Azurity objects to this request as overbroad, unduly burdensome, and not

  proportional to the needs of the case, especially with regards to the phrases “[a]ll documents and

  communications;” and “any actual or potential.” Azurity objects to this request as vague,

  ambiguous, indefinite, unintelligible, and unclear as to the information sought, including as to

  “actual,” “potential,” and “generic competition.” Azurity objects to this request on the ground that

  it seeks production of documents that are not within Azurity’s possession, custody, or control.

  Azurity objects to this request on the grounds that it seeks the production of documents and things

  that contain proprietary business information, trade secrets, or other confidential information.

  Azurity objects to this request to the extent that it seeks the confidential information of a third

  party, including information which is subject to a confidentiality agreement or protective order.

  Azurity objects to this request to the extent it is unreasonably cumulative and/or duplicative of

  other discovery requests. For example, the documents requested herein are duplicative of at least



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  Request Nos. 21, 24, 25, 26, 44, 45, 46, 47, 48, 49, 51, 53, 60, 61, 62, and 63. Azurity objects to

  this Request to the extent that it seeks information related to Bionpharma’s Antitrust

  Counterclaims.

          Pursuant to and without waiving the foregoing objections, Azurity will not produce

  documents and things responsive to this request.

  SUPPLEMENTAL RESPONSE:

          Notwithstanding and without waiving its General and Specific Objections, Azurity

  responds that, now that the parties’ joint agreement to stay antitrust discovery has been terminated

  and the Court has ruled on all pending motions under Fed. R. Civ. P. 12, Azurity will produce

  relevant, non-privileged documents responsive to this request to the extent they exist and can be

  located after a reasonable search.

  REQUEST FOR PRODUCTION NO. 23:

        All documents and communications with NovaQuest relating to CoreRx’s relationship with
  Bionpharma, including documents and communications pertaining to the MMSA.

  RESPONSE TO REQUEST FOR PRODUCTION NO. 23:

          Azurity incorporates by reference its General Statement, General Objections, and Objections

  to Bionpharma’s Definitions, Supplemental Definitions, and Instructions set forth above as if fully

  stated herein. Azurity objects to this request as overbroad, unduly burdensome, and not proportional

  to the needs of the case, especially with regards to the phrase “[a]ll documents and communications.”

  Azurity objects to this request on the grounds that it seeks information that is not relevant to the claims

  or defenses of any party to this case. The burden on Azurity of producing and disclosing this

  information vis-à-vis its minimal or nonexistent importance in resolving the issues in this case

  outweighs any purported need by Bionpharma. Azurity objects to this request on the ground that it

  seeks production of documents that are not within Azurity’s possession, custody, or control. Azurity



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  objects to this request to the extent that it seeks the confidential information of a third party, including

  information which is subject to a confidentiality agreement or protective order. Azurity objects to

  this request to the extent it is unreasonably cumulative and/or duplicative of other discovery requests.

  For example, the documents requested herein are duplicative of at least Request No. 24. Azurity

  objects to this Request to the extent that it seeks information related to Bionpharma’s Antitrust

  Counterclaims.

          Pursuant to and without waiving the foregoing objections, Azurity will not produce

  documents and things responsive to this request.

  SUPPLEMENTAL RESPONSE:

          Notwithstanding and without waiving its General and Specific Objections, Azurity

  responds that, now that the parties’ joint agreement to stay antitrust discovery has been terminated

  and the Court has ruled on all pending motions under Fed. R. Civ. P. 12, Azurity will conduct a

  reasonable good faith search for non-privileged documents responsive to this request to determine

  if any responsive documents exist.

  REQUEST FOR PRODUCTION NO. 24:

        All documents and communications with CoreRx relating to generic competition to
  Epaned, the Enalapril Liquid Patents, Bionpharma’s ANDA Product, the MMSA, the Azurity-
  CoreRx LSA, NovaQuest, and any other enalapril ANDA filer.

  RESPONSE TO REQUEST FOR PRODUCTION NO. 24:

          Azurity incorporates by reference its General Statement, General Objections, and

  Objections to Bionpharma’s Definitions, Supplemental Definitions, and Instructions set forth above

  as if fully stated herein. Azurity objects to this request as overbroad, unduly burdensome, and not

  proportional to the needs of the case, especially with regards to the phrase “[a]ll documents and

  communications.” Azurity objects to this request as vague, ambiguous, indefinite, unintelligible,

  and unclear as to the information sought, including as to “generic competition” and “any other


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  enalapril ANDA filer.” Azurity objects to this request to the extent it seeks Privileged Documents.

  Azurity objects to this request on the ground that it seeks production of documents that are not

  within Azurity’s possession, custody, or control. Azurity objects to this request to the extent that it

  seeks the confidential information of a third party, including information which is subject to a

  confidentiality agreement or protective order. Azurity objects to this request to the extent it is

  unreasonably cumulative and/or duplicative of other discovery requests. For example, the

  documents requested herein are duplicative of at least Request Nos. 21, 22, 23, 25, 26, 44, 45, 46,

  47, 48, 49, 51, 53, 60, 61, 62, and 63. Azurity objects to this Request to the extent that it seeks

  information related to Bionpharma’s Antitrust Counterclaims.

         Pursuant to and without waiving the foregoing objections, Azurity will not produce

  documents and things responsive to this request.

  SUPPLEMENTAL RESPONSE:

         Notwithstanding and without waiving its General and Specific Objections, Azurity

  responds that, now that the parties’ joint agreement to stay antitrust discovery has been terminated

  and the Court has ruled on all pending motions under Fed. R. Civ. P. 12, for documents other than

  those responsive to RFP 20, Azurity will conduct a reasonable good faith search for non-privileged

  documents responsive to this request to determine if any responsive documents exist.

  REQUEST FOR PRODUCTION NO. 25:

         All documents and communications relating to generic competition to Epaned, the
  Enalapril Liquid Patents, Bionpharma’s ANDA Product, CoreRx, the Azurity-CoreRx LSA,
  NovaQuest, and any other ANDA filer, to or from any board member, past or present, of CoreRx,
  including Messrs. Nailesh Bhatt, Vern Davenport, Jeff Edwards, and Frank Leo.

  RESPONSE TO REQUEST FOR PRODUCTION NO. 25:

         Azurity incorporates by reference its General Statement, General Objections, and

  Objections to Bionpharma’s Definitions, Supplemental Definitions, and Instructions set forth above



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  as if fully stated herein. Azurity objects to this request as overbroad, unduly burdensome, and not

  proportional to the needs of the case, especially with regards to the phrase “[a]ll documents and

  communications.” Azurity objects to this request as vague, ambiguous, indefinite, unintelligible,

  and unclear as to the information sought, including as to “generic competition,” “any other enalapril

  ANDA filer,” and “past or present.” Azurity objects to this request to the extent it seeks Privileged

  Documents. Azurity objects to this request on the ground that it seeks production of documents that

  are not within Azurity’s possession, custody, or control. Azurity objects to this request to the extent

  that it seeks the confidential information of a third party, including information which is subject to

  a confidentiality agreement or protective order. Azurity objects to this request to the extent it is

  unreasonably cumulative and/or duplicative of other discovery requests. For example, the

  documents requested herein are duplicative of at least Request Nos. 15, 19, 20, 21, 22, 24, 26, 44,

  45, 46, 47, 48, 49, 51, 53, 60, 61, 62, and 63. Azurity objects to this Request to the extent that it

  seeks information related to Bionpharma’s Antitrust Counterclaims.

         Pursuant to and without waiving the foregoing objections, Azurity will not produce

  documents and things responsive to this request.

  SUPPLEMENTAL RESPONSE:

         Notwithstanding and without waiving its General and Specific Objections, Azurity

  responds that, now that the parties’ joint agreement to stay antitrust discovery has been terminated

  and the Court has ruled on all pending motions under Fed. R. Civ. P. 12, Azurity is willing to meet

  and confer to better understand what materials are being sought by Bionpharma relating to this

  request.




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  REQUEST FOR PRODUCTION NO. 26:

         All documents and communications relating to generic competition to Epaned, the
  Enalapril Liquid Patents, Bionpharma’s ANDA Product, CoreRx, the Azurity-CoreRx LSA,
  NovaQuest, and any other ANDA filer, to or from any board member, past or present, of Azurity,
  including Messrs. Nailesh Bhatt, Richard Blackburn, Vern Davenport, Jeff Edwards, Frank Leo,
  Amit Patel, and Dave Ritchie.

  RESPONSE TO REQUEST FOR PRODUCTION NO. 26:

         Azurity incorporates by reference its General Statement, General Objections, and

  Objections to Bionpharma’s Definitions, Supplemental Definitions, and Instructions set forth above

  as if fully stated herein. Azurity objects to this request as overbroad, unduly burdensome, and not

  proportional to the needs of the case, especially with regards to the phrase “[a]ll documents and

  communications.” Azurity objects to this request as vague, ambiguous, indefinite, unintelligible,

  and unclear as to the information sought, including as to “generic competition,” “any other enalapril

  ANDA filer,” and “past or present.” Azurity objects to this request to the extent it seeks Privileged

  Documents. Azurity objects to this request on the ground that it seeks production of documents that

  are not within Azurity’s possession, custody, or control. Azurity objects to this request to the extent

  that it seeks the confidential information of a third party, including information which is subject to

  a confidentiality agreement or protective order. Azurity objects to this request to the extent it is

  unreasonably cumulative and/or duplicative of other discovery requests. For example, the

  documents requested herein are duplicative of at least Request Nos. 15, 19, 20. 21, 22, 24, 25, 44,

  45, 46, 47, 48, 49, 51, 53, 60, 61, 62, and 63. Azurity objects to this Request to the extent that it

  seeks information related to Bionpharma’s Antitrust Counterclaims.

         Pursuant to and without waiving the foregoing objections, Azurity will not produce

  documents and things responsive to this request.




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  SUPPLEMENTAL RESPONSE:

          Notwithstanding and without waiving its General and Specific Objections, Azurity

  responds that, now that the parties’ joint agreement to stay antitrust discovery has been terminated

  and the court has ruled on all pending motions under Fed. R. Civ. P. 12, Azurity is willing to meet

  and confer to better understand what materials are being sought by Bionpharma relating to this

  request.

  REQUEST FOR PRODUCTION NO. 27:

          All documents and things, including communications between Azurity and NovaQuest,
  relating to NovaQuest’s decision, negotiation, or agreement to take an ownership interest in
  CoreRx.

  RESPONSE TO REQUEST FOR PRODUCTION NO. 27:

          Azurity incorporates by reference its General Statement, General Objections, and Objections

  to Bionpharma’s Definitions, Supplemental Definitions, and Instructions set forth above as if fully

  stated herein. Azurity objects to this request as overbroad, unduly burdensome, and not proportional

  to the needs of the case, especially with regards to the phrase “[a]ll documents and things.” Azurity

  objects to this request as vague, ambiguous, indefinite, unintelligible, and unclear as to the

  information sought, including as to “decision,” “negotiation,” and “agreement.” Azurity objects to

  this request to the extent it seeks Privileged Documents. Azurity objects to this request on the ground

  that it seeks production of documents that are not within Azurity’s possession, custody, or control.

  Azurity objects to this request to the extent that it seeks the confidential information of a third party,

  including information which is subject to a confidentiality agreement or protective order. Azurity

  objects to this request on the ground that it seeks production of documents that are not within Azurity’s

  possession, custody, or control. Azurity objects to this request to the extent it is unreasonably

  cumulative and/or duplicative of other discovery requests. For example, the documents requested




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  herein are duplicative of at least Request Nos. 11, 12, 13, 14, and 18. Azurity objects to this

  Request to the extent that it seeks information related to Bionpharma’s Antitrust Counterclaims.

         Pursuant to and without waiving the foregoing objections, Azurity will not produce

  documents and things responsive to this request.

  SUPPLEMENTAL RESPONSE:

         Notwithstanding and without waiving its General and Specific Objections, Azurity

  responds that, now that the parties’ joint agreement to stay antitrust discovery has been terminated

  and the Court has ruled on all pending motions under Fed. R. Civ. P. 12, for documents other than

  those responsive to RFP 20, Azurity will conduct a reasonable good faith search for non-privileged

  documents responsive to this request to determine if any responsive documents exist.

  REQUEST FOR PRODUCTION NO. 28:

          All documents, communications, and things relating to Azurity’s decision to sue CoreRx
  for alleged infringement of Third Wave Patents.

  RESPONSE TO REQUEST FOR PRODUCTION NO. 28:

         Azurity incorporates by reference its General Statement, General Objections, and

  Objections to Bionpharma’s Definitions, Supplemental Definitions, and Instructions set forth above

  as if fully stated herein. Azurity objects to this request as overbroad, unduly burdensome, and not

  proportional to the needs of the case, especially with regards to the phrase “[a]ll documents,

  communications, and things.” Azurity objects to this request as vague, ambiguous, indefinite,

  unintelligible, and unclear as to the information sought, including as to “decision,” “sue,” and

  “alleged infringement.” Azurity objects to this request to the extent it seeks Privileged Documents.

  Azurity objects to this request to the extent it is unreasonably cumulative and/or duplicative of other

  discovery requests. For example, the documents requested herein are duplicative of at least Request




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  No. 29. Azurity objects to this Request to the extent that it seeks information related to

  Bionpharma’s Antitrust Counterclaims.

         Pursuant to and without waiving the foregoing objections, Azurity will not produce

  documents and things responsive to this request.

  SUPPLEMENTAL RESPONSE:

         Notwithstanding and without waiving its General and Specific Objections, Azurity

  responds that, now that the parties’ joint agreement to stay antitrust discovery has been terminated

  and the Court has ruled on all pending motions under Fed. R. Civ. P. 12, Azurity will produce

  relevant, non-privileged documents responsive to this request to the extent they exist and can be

  located after a reasonable search.

  REQUEST FOR PRODUCTION NO. 29:

         All documents, communications, and things between Azurity and NovaQuest relating to
  Azurity’s decision to sue CoreRx for alleged infringement of Third Wave Patents.

  RESPONSE TO REQUEST FOR PRODUCTION NO. 29:

         Azurity incorporates by reference its General Statement, General Objections, and

  Objections to Bionpharma’s Definitions, Supplemental Definitions, and Instructions set forth above

  as if fully stated herein. Azurity objects to this request as overbroad, unduly burdensome, and not

  proportional to the needs of the case, especially with regards to the phrase “[a]ll documents,

  communications, and things.” Azurity objects to this request as vague, ambiguous, indefinite,

  unintelligible, and unclear as to the information sought, including as to “decision,” “sue,” and

  “alleged infringement.” Azurity objects to this request to the extent it seeks Privileged Documents.

  Azurity objects to this request on the ground that it seeks production of documents that are not

  within Azurity’s possession, custody, or control. Azurity objects to this request to the extent that it

  seeks the confidential information of a third party, including information which is subject to a



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  confidentiality agreement or protective order. Azurity objects to this request to the extent it is

  unreasonably cumulative and/or duplicative of other discovery requests. For example, the

  documents requested herein are duplicative of at least Request No. 28. Azurity objects to this

  Request to the extent that it seeks information related to Bionpharma’s Antitrust Counterclaims.

          Pursuant to and without waiving the foregoing objections, Azurity will not produce

  documents and things responsive to this request.

  SUPPLEMENTAL RESPONSE:

          Notwithstanding and without waiving its General and Specific Objections, Azurity

  responds that, now that the parties’ joint agreement to stay antitrust discovery has been terminated

  and the Court has ruled on all pending motions under Fed. R. Civ. P. 12, Azurity will conduct a

  reasonable good faith search for non-privileged documents responsive to this request to determine

  if any responsive documents exist.

  REQUEST FOR PRODUCTION NO. 30:

        All documents and things pertaining to Azurity’s decision to voluntarily dismiss Azurity
  Pharmaceuticals, Inc. v. CoreRx, Inc., C.A. No. 21-1522-LPS (D. Del.) and Azurity
  Pharmaceuticals, Inc. v. CoreRx, Inc., C.A. No. 21-2515-VMC-SPF (M.D. Fla.).

  RESPONSE TO REQUEST FOR PRODUCTION NO. 30:

          Azurity incorporates by reference its General Statement, General Objections, and Objections

  to Bionpharma’s Definitions, Supplemental Definitions, and Instructions set forth above as if fully

  stated herein. Azurity objects to this request as overbroad, unduly burdensome, and not proportional

  to the needs of the case, especially with regards to the phrase “[a]ll documents and things.” Azurity

  objects to this request as vague, ambiguous, indefinite, unintelligible, and unclear as to the

  information sought, including as to “pertaining to” and “decision to.” Azurity further objects to this

  request as vague, ambiguous, indefinite, unintelligible, and unclear as to the to the phrase “voluntarily

  dismiss” as this Court held that dismissal was pursuant to the mutual agreement of the parties, and


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  not the unilateral action of Azurity. D.I. 124. Azurity objects to this request to the extent it seeks

  Privileged Documents. Azurity objects to this Request to the extent that it seeks information related

  to Bionpharma’s Antitrust Counterclaims.

         Pursuant to and without waiving the foregoing objections, Azurity will not produce

  documents and things responsive to this request.

  SUPPLEMENTAL RESPONSE:

         Notwithstanding and without waiving its General and Specific Objections, Azurity

  responds that, now that the parties’ joint agreement to stay antitrust discovery has been terminated

  and the Court has ruled on all pending motions under Fed. R. Civ. P. 12, this Request seeks

  information that is contrary to fact and, as such, is nonsensical and cannot reasonably be responded

  to.

  REQUEST FOR PRODUCTION NO. 44:

         Documents sufficient to identify each drug that competes with Epaned.

  RESPONSE TO REQUEST FOR PRODUCTION NO. 44:

         Azurity incorporates by reference its General Statement, General Objections, and

  Objections to Bionpharma’s Definitions, Supplemental Definitions, and Instructions set forth

  above as if fully stated herein. Azurity objects to this request as overbroad, unduly burdensome,

  and not proportional to the needs of the case, especially with regards to the phrase “each drug.”

  Azurity objects to this request as vague, ambiguous, indefinite, unintelligible, and unclear as to the

  information sought, including “competes.” Azurity objects to this request to the extent it seeks

  Privileged Documents. Azurity further objects to this request as premature to the extent it calls for

  information that is the subject of expert discovery. Azurity objects to this request to the extent it

  is unreasonably cumulative and/or duplicative of other discovery requests. For example, the




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  documents requested herein are duplicative of at least Request Nos. 21, 22, 24, 25, 26, 27, 45, 46,

  47, 48, 49, 51, 53, 60, 61, 62, and 63. Azurity objects to this Request to the extent that it seeks

  information related to Bionpharma’s Antitrust Counterclaims.

         Pursuant to and without waiving the foregoing objections, Azurity will not produce

  documents and things responsive to this request.

  SUPPLEMENTAL RESPONSE:

         Notwithstanding and without waiving its General and Specific Objections, Azurity

  responds that, now that the parties’ joint agreement to stay antitrust discovery has been terminated

  and the Court has ruled on all pending motions under Fed. R. Civ. P. 12, Azurity will produce

  relevant, non-privileged documents responsive to this request on a sufficient to show basis.

  REQUEST FOR PRODUCTION NO. 45:

         Documents sufficient to identify each hypertension treatment that competes with Epaned.

  RESPONSE TO REQUEST FOR PRODUCTION NO. 45:

         Azurity incorporates by reference its General Statement, General Objections, and

  Objections to Bionpharma’s Definitions, Supplemental Definitions, and Instructions set forth above

  as if fully stated herein. Azurity objects to this request as overbroad, unduly burdensome, and not

  proportional to the needs of the case, especially with regards to the phrase “each hypertension

  treatment.” Azurity objects to this request as vague, ambiguous, indefinite, unintelligible, and

  unclear as to the information sought, including “competes.” Azurity objects to this request to the

  extent it seeks Privileged Documents. Azurity further objects to this request as premature to the

  extent it calls for information that is the subject of expert discovery. Azurity objects to this request

  to the extent it is unreasonably cumulative and/or duplicative of other discovery requests. For

  example, the documents requested herein are duplicative of at least Request Nos. 21, 22, 24, 25, 26,




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  27, 44, 46, 47, 48, 49, 51, 53, 60, 61, 62, and 63. Azurity objects to this Request to the extent

  that it seeks information related to Bionpharma’s Antitrust Counterclaims.

         Pursuant to and without waiving the foregoing objections, Azurity will not produce

  documents and things responsive to this request.

  SUPPLEMENTAL RESPONSE:

         Notwithstanding and without waiving its General and Specific Objections, Azurity

  responds that, now that the parties’ joint agreement to stay antitrust discovery has been terminated

  and the Court has ruled on all pending motions under Fed. R. Civ. P. 12, Azurity will produce non-

  privileged documents responsive to this request on a sufficient to show basis.

  REQUEST FOR PRODUCTION NO. 46:

         Documents sufficient to identify each symptomatic heart failure treatment that competes
  with Epaned.

  RESPONSE TO REQUEST FOR PRODUCTION NO. 46:

         Azurity incorporates by reference its General Statement, General Objections, and

  Objections to Bionpharma’s Definitions, Supplemental Definitions, and Instructions set forth above

  as if fully stated herein. Azurity objects to this request as overbroad, unduly burdensome, and not

  proportional to the needs of the case, especially with regards to the phrase “each symptomatic heart

  failure treatment.” Azurity objects to this request as vague, ambiguous, indefinite, unintelligible,

  and unclear as to the information sought, including “competes.” Azurity objects to this request to

  the extent it seeks Privileged Documents. Azurity further objects to this request as premature to the

  extent it calls for information that is the subject of expert discovery. Azurity objects to this request

  to the extent it is unreasonably cumulative and/or duplicative of other discovery requests. For

  example, the documents requested herein are duplicative of at least Request Nos. 21, 22, 24, 25, 26,




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  27, 44, 45, 47, 48, 49, 51, 53, 60, 61, 62, and 63. Azurity objects to this Request to the extent

  that it seeks information related to Bionpharma’s Antitrust Counterclaims.

          Pursuant to and without waiving the foregoing objections, Azurity will not produce

  documents and things responsive to this request.

  SUPPLEMENTAL RESPONSE:

          Notwithstanding and without waiving its General and Specific Objections, Azurity

  responds that, now that the parties’ joint agreement to stay antitrust discovery has been terminated

  and the Court has ruled on all pending motions under Fed. R. Civ. P. 12, Azurity will produce non-

  privileged documents responsive to this request on a sufficient to show basis.

  REQUEST FOR PRODUCTION NO. 47:

         Documents sufficient to identify each asymptomatic left ventricular dysfunction treatment
  that competes with Epaned.

  RESPONSE TO REQUEST FOR PRODUCTION NO. 47:

          Azurity incorporates by reference its General Statement, General Objections, and

  Objections to Bionpharma’s Definitions, Supplemental Definitions, and Instructions set forth above

  as if fully stated herein. Azurity objects to this request as overbroad, unduly burdensome, and not

  proportional to the needs of the case, especially with regards to the phrase “each asymptomatic left

  ventricular dysfunction.” Azurity objects to this request as vague, ambiguous, indefinite,

  unintelligible, and unclear as to the information sought, including “competes.” Azurity objects to

  this request to the extent it seeks Privileged Documents. Azurity further objects to this request as

  premature to the extent it calls for information that is the subject of expert discovery. Azurity objects

  to this request to the extent it is unreasonably cumulative and/or duplicative of other discovery

  requests. For example, the documents requested herein are duplicative of at least Request Nos. 21,




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  22, 24, 25, 26, 27, 44, 45, 46, 48, 49, 51, 53, 60, 61, 62, and 63. Azurity objects to this Request to

  the extent that it seeks information related to Bionpharma’s Antitrust Counterclaims.

         Pursuant to and without waiving the foregoing objections, Azurity will not produce

  documents and things responsive to this request.

  SUPPLEMENTAL RESPONSE:

         Notwithstanding and without waiving its General and Specific Objections, Azurity

  responds that, now that the parties’ joint agreement to stay antitrust discovery has been terminated

  and the Court has ruled on all pending motions under Fed. R. Civ. P. 12, Azurity will produce non-

  privileged documents responsive to this request on a sufficient to show basis.

  REQUEST FOR PRODUCTION NO. 48:

          Documents sufficient to describe the cost, availability, and distribution of any product or
  treatment that competes with Epaned or is used to treat hypertension, symptomatic heart failure,
  and/or symptomatic heart failure.

  RESPONSE TO REQUEST FOR PRODUCTION NO. 48:

         Azurity incorporates by reference its General Statement, General Objections, and

  Objections to Bionpharma’s Definitions, Supplemental Definitions, and Instructions set forth

  above as if fully stated herein. Azurity objects to this request as overbroad, unduly burdensome,

  and not proportional to the needs of the case, especially with regards to the phrase “any product or

  treatment.” Azurity objects to this request as vague, ambiguous, indefinite, unintelligible, and

  unclear as to the information sought, including as to “availability,” “distribution,” “product,”

  “treatment,” and “competes.” Azurity objects to this request to the extent it seeks Privileged

  Documents. Azurity objects to this request on the ground that it seeks production of documents

  that are not within Azurity’s possession, custody, or control. Azurity further objects to this request

  as premature to the extent it calls for information that is the subject of expert discovery. Azurity

  objects to this request to the extent it is unreasonably cumulative and/or duplicative of other


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  discovery requests. For example, the documents requested herein are duplicative of at least

  Request Nos. 21, 22, 24, 25, 26, 27, 44, 45, 46, 47, 48, 49, 51, 53, 60, 61, 62, and 63. Azurity

  objects to this Request to the extent that it seeks information related to Bionpharma’s Antitrust

  Counterclaims.

         Pursuant to and without waiving the foregoing objections, Azurity will not produce

  documents and things responsive to this request.

  SUPPLEMENTAL RESPONSE:

         Notwithstanding and without waiving its General and Specific Objections, Azurity

  responds that, now that the parties’ joint agreement to stay antitrust discovery has been terminated

  and the Court has ruled on all pending motions under Fed. R. Civ. P. 12, Azurity is willing to meet

  and confer to better understand what materials are being sought by Bionpharma relating to this

  request.

  REQUEST FOR PRODUCTION NO. 49:

          All documents and things relating to the gross and net sales, market share, gross and net
  profits; sales and profit forecasts; advertising, promotion, presentation, description, and/or
  explanation of any product or treatment that competes with Epaned or is used to treat hypertension,
  symptomatic heart failure, and/or symptomatic heart failure.

  RESPONSE TO REQUEST FOR PRODUCTION NO. 49:

         Azurity incorporates by reference its General Statement, General Objections, and Objections

  to Bionpharma’s Definitions, Supplemental Definitions, and Instructions set forth above as if fully

  stated herein. Azurity objects to this request as overbroad, unduly burdensome, and not proportional

  to the needs of the case, especially with regards to the phrase “[a]ll documents and things.” Azurity

  objects to this request as vague, ambiguous, indefinite, unintelligible, and unclear as to the

  information sought, including as to “product,” “treatment,” and “competes.” Azurity objects to this

  request to the extent it seeks Privileged Documents. Azurity objects to this request on the ground that



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  it seeks production of documents that are not within Azurity’s possession, custody, or control. Azurity

  further objects to this request as premature to the extent it calls for information that is the subject of

  expert discovery. Azurity objects to this request to the extent it is unreasonably cumulative and/or

  duplicative of other discovery requests. For example, the documents requested herein are duplicative

  of at least Request Nos. 21, 22, 24, 25, 26, 27, 39, 44, 45, 46, 47, 48, 51, 53, 60, 61, 62, and 63.

  Azurity objects to this Request to the extent that it seeks information related to Bionpharma’s Antitrust

  Counterclaims.

          Pursuant to and without waiving the foregoing objections, Azurity will not produce

  documents and things responsive to this request.

  SUPPLEMENTAL RESPONSE:

          Notwithstanding and without waiving its General and Specific Objections, Azurity

  responds that, now that the parties’ joint agreement to stay antitrust discovery has been terminated

  and the Court has ruled on all pending motions under Fed. R. Civ. P. 12, Azurity will produce non-

  privileged documents responsive to this request on a sufficient to show basis.

  REQUEST FOR PRODUCTION NO. 50:

        Documents sufficient to show the pricing, whether proposed, offered or actual, of all
  marketed dosages and forms of Epaned.

  RESPONSE TO REQUEST FOR PRODUCTION NO. 50:

          Azurity incorporates by reference its General Statement, General Objections, and

  Objections to Bionpharma’s Definitions, Supplemental Definitions, and Instructions set forth above

  as if fully stated herein. Azurity objects to this request as overbroad, unduly burdensome, and not

  proportional to the needs of the case, especially with regards to the phrase “all marketed dosages

  and forms.” Azurity objects to this request as vague, ambiguous, indefinite, unintelligible, and

  unclear as to the information sought, including as to “proposed,” “offered,” and “actual.” Azurity



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  objects to this request to the extent it seeks Privileged Documents. Azurity objects to this request

  on the grounds that it seeks the production of documents and things that contain proprietary business

  information, trade secrets, or other confidential information. Azurity objects to this request to the

  extent it is unreasonably cumulative and/or duplicative of other discovery requests. For example,

  the documents requested herein are duplicative of at least Request Nos. 32, 33, 34, 38, and 51.

  Azurity objects to this Request to the extent that it seeks information related to Bionpharma’s

  Antitrust Counterclaims.

         Subject to and without waiving the foregoing objections, Azurity will not produce

  documents and things responsive to this request.

  SUPPLEMENTAL RESPONSE:

         Notwithstanding and without waiving its General and Specific Objections, Azurity

  responds that, now that the parties’ joint agreement to stay antitrust discovery has been terminated

  and the Court has ruled on all pending motions under Fed. R. Civ. P. 12, Azurity will produce non-

  privileged documents responsive to this request on a sufficient to show basis.

  REQUEST FOR PRODUCTION NO. 51:

        All documents and things relating to any price changes considered or implemented for
  Epaned in response to any perceived or actual competition.

  RESPONSE TO REQUEST FOR PRODUCTION NO. 51:

         Azurity incorporates by reference its General Statement, General Objections, and

  Objections to Bionpharma’s Definitions, Supplemental Definitions, and Instructions set forth above

  as if fully stated herein. Azurity objects to this request as overbroad, unduly burdensome, and not

  proportional to the needs of the case, especially with regards to the phrase “any price changes.”

  Azurity objects to this request as vague, ambiguous, indefinite, unintelligible, and unclear as to the

  information sought, including as to “proposed,” “offered,” and “actual.” Azurity objects to this



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  request to the extent it seeks Privileged Documents. Azurity objects to this request on the grounds

  that it seeks the production of documents and things that contain proprietary business information,

  trade secrets, or other confidential information. Azurity objects to this request to the extent it is

  unreasonably cumulative and/or duplicative of other discovery requests. For example, the

  documents requested herein are duplicative of at least Request Nos. 21, 22, 24, 25, 26, 27, 33, 34,

  38, 50, 44, 45, 46, 47, 48, 49, 53, 60, 61, 62, and 63. Azurity objects to this Request to the extent

  that it seeks information related to Bionpharma’s Antitrust Counterclaims.

         Subject to and without waiving the foregoing objections, Azurity will not produce

  documents and things responsive to this request.

  SUPPLEMENTAL RESPONSE:

         Notwithstanding and without waiving its General and Specific Objections, Azurity

  responds that, now that the parties’ joint agreement to stay antitrust discovery has been terminated

  and the Court has ruled on all pending motions under Fed. R. Civ. P. 12, Azurity will produce non-

  privileged documents responsive to this request on a sufficient to show basis.

  REQUEST FOR PRODUCTION NO. 53:

          All documents relating to any market in which Epaned competes, including all documents
  relating to the market share of Epaned and/or any product or therapy that actually or potentially
  competes with Epaned, any competitive analysis of any product or therapy that actually or
  potentially competes with Epaned, and the impact (including impact on sales (in dollars or unit
  volume) and/or profits) on Azurity of any product or therapy that actually or potentially competes
  with Epaned.

  RESPONSE TO REQUEST FOR PRODUCTION NO. 53:

         Azurity incorporates by reference its General Statement, General Objections, and

         Objections to Bionpharma’s Definitions, Supplemental Definitions, and Instructions set

  forth above as if fully stated herein. Azurity objects to this request as overbroad, unduly

  burdensome, and not proportional to the needs of the case, especially with regards to the phrases



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  “[a]ll documents,” “any market,” and “any product or therapy.” Azurity objects to this request as

  vague, ambiguous, indefinite, unintelligible, and unclear as to the information sought, including

  as to “market,” “competes,” “actually,” “potentially,” “competitive analysis,” and “impact.”

  Azurity objects to this request to the extent it seeks Privileged Documents. Azurity objects to this

  request on the grounds that it seeks the production of documents and things that contain proprietary

  business information, trade secrets, or other confidential information. Azurity objects to this

  request on the grounds that it seeks information that is not relevant to the claims or defenses of

  any party to this case. Azurity further objects to this request as premature to the extent it calls for

  information that is the subject of expert discovery. Azurity objects to this request to the extent it

  is unreasonably cumulative and/or duplicative of other discovery requests. For example, the

  documents requested herein are duplicative of at least Request Nos. 21, 22, 24, 25, 26, 27, 44, 45,

  46, 47, 48, 49, 51, 60, 61, 62, and 63. Azurity objects to this Request to the extent that it seeks

  information related to Bionpharma’s Antitrust Counterclaims.

         Pursuant to and without waiving the foregoing objections, Azurity will not produce

  documents and things responsive to this request.

  SUPPLEMENTAL RESPONSE:

         Notwithstanding and without waiving its General and Specific Objections, Azurity

  responds that, now that the parties’ joint agreement to stay antitrust discovery has been terminated

  and the Court has ruled on all pending motions under Fed. R. Civ. P. 12, Azurity will produce non-

  privileged documents responsive to this request on a sufficient to show basis.

  REQUEST FOR PRODUCTION NO. 54:

          All documents concerning the advertising, promotion or marketing of Epaned, including
  but not limited to, advertisements, drafts of advertisements, market research, advertising budgets,
  results of focus groups or consumer surveys, letters to healthcare providers and direct-to-consumer
  advertising.



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  RESPONSE TO REQUEST FOR PRODUCTION NO. 54:

         Azurity incorporates by reference its General Statement, General Objections, and

         Objections to Bionpharma’s Definitions, Supplemental Definitions, and Instructions set

  forth above as if fully stated herein. Azurity objects to this request as overbroad, unduly

  burdensome, and not proportional to the needs of the case, especially with regards to the phrases

  “[a]ll documents” and “including, but not limited to.” Azurity objects to this request as vague,

  ambiguous, indefinite, unintelligible, and unclear as to the information sought, including as to

  “promotion,” “marketing,” “drafts,” “market research,” “results,” “focus groups,” “surveys,” and

  “direct-to-consumer advertising.” Azurity objects to this request to the extent it seeks Privileged

  Documents. Azurity objects to this request on the grounds that it seeks the production of documents

  and things that contain proprietary business information, trade secrets, or other confidential

  information. Azurity objects to this request on the grounds that it seeks information that is not

  relevant to the claims or defenses of any party to this case. The burden on Azurity of producing

  and disclosing this information vis-à-vis its minimal or nonexistent importance in resolving the

  issues in this case outweighs any purported need by Bionpharma. Azurity further objects to this

  request to the extent it seeks to improperly shift Bionpharma’s burden of proving invalidity to

  Azurity. Azurity objects to this request to the extent it is unreasonably cumulative and/or

  duplicative of other discovery requests. For example, the documents requested herein are

  duplicative of at least Request Nos. 10, 38, 55, 56, 57, 58, and 59. Azurity objects to this Request

  to the extent that it seeks information related to Bionpharma’s Antitrust Counterclaims.

         Pursuant to and without waiving the foregoing objections, Azurity will not produce

  documents and things responsive to this request at least because it is predicated on the erroneous

  legal premise that Azurity bears the burden of proving validity. Bionpharma has not yet served




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  any invalidity contentions, the deadline for which has been set by this Court’s Scheduling Order.

  Thus, to the extent this request seeks information related to secondary considerations of non-

  obviousness, it is at best, premature.

  SUPPLEMENTAL RESPONSE:

         Notwithstanding and without waiving its General and Specific Objections, Azurity

  responds that, now that the parties’ joint agreement to stay antitrust discovery has been terminated

  and the Court has ruled on all pending motions under Fed. R. Civ. P. 12, Azurity will produce non-

  privileged documents responsive to this request on a sufficient to show basis.

  REQUEST FOR PRODUCTION NO. 55:

         Once copy of each detail aid, visual aid, product monograph and/or piece of promotional
  or professional literature used by Plaintiff’s representatives to detail or promote Epaned to
  physicians and/or other health care professionals.

  RESPONSE TO REQUEST FOR PRODUCTION NO. 55:

         Azurity incorporates by reference its General Statement, General Objections, and

  Objections to Bionpharma’s Definitions, Supplemental Definitions, and Instructions set forth

  above as if fully stated herein. Azurity objects to this request as vague, ambiguous, indefinite,

  unintelligible, and unclear as to the information sought, including as to “detail aid,” “visual aid,”

  “monograph,” “literature,” “detail,” “promote,” and “health care professionals.” Azurity objects

  to this request to the extent it seeks Privileged Documents. Azurity objects to this request on the

  grounds that it seeks the production of documents and things that contain proprietary business

  information, trade secrets, or other confidential information. Azurity further objects to this request

  to the extent it seeks to improperly shift Bionpharma’s burden of proving invalidity to Azurity.

  Azurity objects to this request to the extent it is unreasonably cumulative and/or duplicative of

  other discovery requests. For example, the documents requested herein are duplicative of at least




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  Request Nos. 10, 38, 54, 56, 57, 58, and 59. Azurity objects to this Request to the extent that it

  seeks information related to Bionpharma’s Antitrust Counterclaims.

         Pursuant to and without waiving the foregoing objections, Azurity will not produce

  documents and things responsive to this request.

  SUPPLEMENTAL RESPONSE:

         Notwithstanding and without waiving its General and Specific Objections, Azurity

  responds that, now that the parties’ joint agreement to stay antitrust discovery has been terminated

  and the Court has ruled on all pending motions under Fed. R. Civ. P. 12, Azurity will produce non-

  privileged documents responsive to this request on a sufficient to show basis.

  REQUEST FOR PRODUCTION NO. 56:

         All detail and/or sample audits, including but not limited to IMS data, relating to Epaned.

  RESPONSE TO REQUEST FOR PRODUCTION NO. 56:

         Azurity incorporates by reference its General Statement, General Objections, and

  Objections to Bionpharma’s Definitions, Supplemental Definitions, and Instructions set forth

  above as if fully stated herein. Azurity objects to this request as overbroad, unduly burdensome,

  and not proportional to the needs of the case, especially with regards to the phrases “[a]ll detail

  and/or sample audits” and “including but not limited to.” Azurity objects to this request as vague,

  ambiguous, indefinite, unintelligible, and unclear as to the information sought, including as to

  “detail audit” or “sample audit.” Azurity objects to this request to the extent it seeks Privileged

  Documents. Azurity objects to this request on the ground that it seeks publicly available

  information. Azurity objects to this request on the ground that it is duplicative of documents

  already in Bionpharma’s possession, custody, or control, particularly to the extent that Azurity

  has already produced documents in C.A. Nos. 18-1962 and 19-1067, which the parties have




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  agreed shall be deemed produced in the instant actions. Azurity objects to this request to the extent

  it is unreasonably cumulative and/or duplicative of other discovery requests. For example, the

  documents requested herein are duplicative of at least Request Nos. 10, 38, 54, 55, 57, 58, and

  59. Azurity objects to this Request to the extent that it seeks information related to Bionpharma’s

  Antitrust Counterclaims.

         Pursuant to and without waiving the foregoing objections, Azurity will not produce

  documents and things responsive to this request.

  SUPPLEMENTAL RESPONSE:

         Notwithstanding and without waiving its General and Specific Objections, Azurity

  responds that, now that the parties’ joint agreement to stay antitrust discovery has been terminated

  and the Court has ruled on all pending motions under Fed. R. Civ. P. 12, Azurity will produce

  non-privileged documents responsive to this request on a sufficient to show basis.

  REQUEST FOR PRODUCTION NO. 57:

           Any market research, physician surveys, or prescriptions data analysis for Epaned or for
  any treatment that competes with Epaned or that is used to treat hypertension, symptomatic heart
  failure, and/or symptomatic heart failure.

  RESPONSE TO REQUEST FOR PRODUCTION NO. 57:

         Azurity incorporates by reference its General Statement, General Objections, and

  Objections to Bionpharma’s Definitions, Supplemental Definitions, and Instructions set forth above

  as if fully stated herein. Azurity objects to this request as overbroad, unduly burdensome, and not

  proportional to the needs of the case, especially with regards to the phrases “[a]ny market research,

  physician surveys, or prescription data analysis” and “any treatment.” Azurity objects to this request

  as vague, ambiguous, indefinite, unintelligible, and unclear as to the information sought, including

  as to “prescription data analysis” and “competes.” Azurity objects to this request on the grounds that

  it seeks the production of documents and things that contain proprietary business information, trade


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  secrets, or other confidential information. Azurity objects to this request to the extent it is

  unreasonably cumulative and/or duplicative of other discovery requests. For example, the documents

  requested herein are duplicative of at least Request Nos. 10, 38, 54, 55, 56, 58, and 59. Azurity

  objects to this Request to the extent that it seeks information related to Bionpharma’s Antitrust

  Counterclaims.

         Pursuant to and without waiving the foregoing objections, Azurity will not produce

  documents and things responsive to this request.

  SUPPLEMENTAL RESPONSE:

         Notwithstanding and without waiving its General and Specific Objections, Azurity

  responds that, now that the parties’ joint agreement to stay antitrust discovery has been terminated

  and the Court has ruled on all pending motions under Fed. R. Civ. P. 12, Azurity will conduct a

  reasonable good faith search for non-privileged documents responsive to this request to determine

  if any responsive documents exist.

  REQUEST FOR PRODUCTION NO. 58:

         All studies, analyses, compilations or reports of physicians’ impressions or opinions
  concerning Epaned.

  RESPONSE TO REQUEST FOR PRODUCTION NO. 58:

         Azurity incorporates by reference its General Statement, General Objections, and Objections

  to Bionpharma’s Definitions, Supplemental Definitions, and Instructions set forth above as if fully

  stated herein. Azurity objects to this request as overbroad, unduly burdensome, and not proportional

  to the needs of the case, especially with regards to the phrase “[a]ll studies, analyses, compilations,

  or reports.” Azurity objects to this request as vague, ambiguous, indefinite, unintelligible, and

  unclear as to the information sought, including as to “impressions” and “opinions.” Azurity objects

  to this request to the extent it seeks Privileged Documents. The burden on Azurity of producing and



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  disclosing this information vis-à-vis its minimal or nonexistent importance in resolving the issues in

  this case outweighs any purported need by Bionpharma. Azurity objects to this request on the

  grounds that it seeks the production of documents and things that contain proprietary business

  information, trade secrets, or other confidential information, including confidential patient

  information that may be protected by the Health Insurance Portability and Accountability Act of

  1996 or other laws. Azurity further objects to this request to the extent it seeks to improperly shift

  Bionpharma’s burden of proving invalidity to Azurity. Azurity objects to this request to the extent

  it is unreasonably cumulative and/or duplicative of other discovery requests. For example, the

  documents requested herein are duplicative of at least Request Nos. 10, 38, 54, 55, 56, 57, and 59.

         Pursuant to and without waiving the foregoing objections, Azurity will not produce

  documents and things responsive to this request at least because it is predicated on the erroneous

  legal premise that Azurity bears the burden of proving validity. Bionpharma has not yet served

  any invalidity contentions, the deadline for which has been set by this Court’s Scheduling Order.

  Thus, to the extent this request seeks information related to secondary considerations of non-

  obviousness, it is at best, premature.

  SUPPLEMENTAL RESPONSE:

         Notwithstanding and without waiving its General and Specific Objections, Azurity

  responds that, now that the parties’ joint agreement to stay antitrust discovery has been terminated

  and the Court has ruled on all pending motions under Fed. R. Civ. P. 12, Azurity will conduct a

  reasonable good faith search for non-privileged documents responsive to this request to determine

  if any responsive documents exist.

  REQUEST FOR PRODUCTION NO. 60:

        All documents and things concerning any planned or implemented response to generic
  competition for Epaned.



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  RESPONSE TO REQUEST FOR PRODUCTION NO. 60:

         Azurity incorporates by reference its General Statement, General Objections, and

  Objections to Bionpharma’s Definitions, Supplemental Definitions, and Instructions set forth

  above as if fully stated herein. Azurity objects to this request as overbroad, unduly burdensome,

  and not proportional to the needs of the case, especially with regards to the phrases “[a]ll

  documents and things,” “any relationship,” and “any planned or implemented response.” Azurity

  objects to this request as vague, ambiguous, indefinite, unintelligible, and unclear as to the

  information sought, including as to “planned,” “implemented,” “response,” and “generic

  competition.” Azurity objects to this request to the extent it seeks Privileged Documents. Azurity

  objects to this request on the grounds that it seeks information that is not relevant to the claims or

  defenses of any party to this case. The burden on Azurity of producing and disclosing this

  information vis-à-vis its minimal or nonexistent importance in resolving the issues in this case

  outweighs any purported need by Bionpharma. Azurity objects to this request on the grounds that

  it seeks the production of documents and things that contain proprietary business information,

  trade secrets, or other confidential information. Azurity objects to this request to the extent it is

  unreasonably cumulative and/or duplicative of other discovery requests. For example, the

  documents requested herein are duplicative of at least Request Nos. 21, 22, 24, 25, 26, 27, 44, 45,

  46, 47, 48, 49, 51, 53, 61, 62, and 63.

         Pursuant to and without waiving the foregoing objections, Azurity will not produce

  documents and things responsive to this request.

  SUPPLEMENTAL RESPONSE:

         Notwithstanding and without waiving its General and Specific Objections, Azurity

  responds that, now that the parties’ joint agreement to stay antitrust discovery has been terminated




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  and the Court has ruled on all pending motions under Fed. R. Civ. P. 12, Azurity will conduct a

  reasonable good faith search for non-privileged documents responsive to this request to determine

  if any responsive documents exist.

  REQUEST FOR PRODUCTION NO. 61:

         All documents and communications relating to strategies or attempts to prevent or delay
  generic competition to Epaned.

  RESPONSE TO REQUEST FOR PRODUCTION NO. 61:

         Azurity incorporates by reference its General Statement, General Objections, and Objections

  to Bionpharma’s Definitions, Supplemental Definitions, and Instructions set forth above as if fully

  stated herein. Azurity objects to this request as overbroad, unduly burdensome, and not proportional

  to the needs of the case, especially with regards to the phrase “[a]ll documents and things.” Azurity

  objects to this request as vague, ambiguous, indefinite, unintelligible, and unclear as to the

  information sought, including as to “prevent,” “delay,” and “generic competition.” Azurity objects

  to this request to the extent it seeks Privileged Documents. Azurity objects to this request on the

  grounds that it seeks information that is not relevant to the claims or defenses of any party to this

  case. The burden on Azurity of producing and disclosing this information vis-à-vis its minimal or

  nonexistent importance in resolving the issues in this case outweighs any purported need by

  Bionpharma. Azurity objects to this request on the grounds that it seeks the production of

  documents and things that contain proprietary business information, trade secrets, or other

  confidential information. Azurity objects to this request to the extent it is unreasonably cumulative

  and/or duplicative of other discovery requests. For example, the documents requested herein are

  duplicative of at least Request Nos. 21, 22, 24, 25, 26, 27, 44, 45, 46, 47, 48, 49, 51, 53, 60, 62,

  and 63. Azurity objects to this Request to the extent that it seeks information related to

  Bionpharma’s Antitrust Counterclaims.



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         Pursuant to and without waiving the foregoing objections, Azurity will not produce

  documents and things responsive to this request.

  SUPPLEMENTAL RESPONSE:

         Notwithstanding and without waiving its General and Specific Objections, Azurity

  responds that, now that the parties’ joint agreement to stay antitrust discovery has been terminated

  and the Court has ruled on all pending motions under Fed. R. Civ. P. 12, Azurity is willing to meet

  and confer to better understand what materials are being sought by Bionpharma relating to this

  request.

  REQUEST FOR PRODUCTION NO. 62:

         All documents and communications relating to generic competition to Epaned, including
  evaluation of ANDA filers.

  RESPONSE TO REQUEST FOR PRODUCTION NO. 62:

         Azurity incorporates by reference its General Statement, General Objections, and

  Objections to Bionpharma’s Definitions, Supplemental Definitions, and Instructions set forth above

  as if fully stated herein. Azurity objects to this request as overbroad, unduly burdensome, and not

  proportional to the needs of the case, especially with regards to the phrase “[a]ll documents and

  communications.” Azurity objects to this request as vague, ambiguous, indefinite, unintelligible,

  and unclear as to the information sought, including as to “generic competition,” “evaluation,” and

  “ANDA filers.” Azurity objects to this request to the extent it seeks Privileged Documents. Azurity

  objects to this request on the grounds that it seeks the production of documents and things that

  contain proprietary business information, trade secrets, or other confidential information. Azurity

  objects to this request to the extent it is unreasonably cumulative and/or duplicative of other

  discovery requests. For example, the documents requested herein are duplicative of at least

  Request Nos. 21, 22, 24, 25, 26, 27, 44, 45, 46, 47, 48, 49, 51, 53, 60, 61, and 63. Azurity objects



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  to this Request to the extent that it seeks information related to Bionpharma’s Antitrust

  Counterclaims.

         Pursuant to and without waiving the foregoing objections, Azurity will not produce

  documents and things responsive to this request.

  SUPPLEMENTAL RESPONSE:

         Notwithstanding and without waiving its General and Specific Objections, Azurity

  responds that, now that the parties’ joint agreement to stay antitrust discovery has been terminated

  and the Court has ruled on all pending motions under Fed. R. Civ. P. 12, Azurity is willing to meet

  and confer to better understand what materials are being sought by Bionpharma relating to this

  request.

  REQUEST FOR PRODUCTION NO. 63:

         All documents concerning competition for the sale of any enalapril product.

  RESPONSE TO REQUEST FOR PRODUCTION NO. 63:

         Azurity incorporates by reference its General Statement, General Objections, and Objections

  to Bionpharma’s Definitions, Supplemental Definitions, and Instructions set forth above as if fully

  stated herein. Azurity objects to this request as overbroad, unduly burdensome, and not proportional

  to the needs of the case, especially with regards to the phrases “[a]ll documents” and “any enalapril

  product.” Azurity objects to this request as vague, ambiguous, indefinite, unintelligible, and unclear

  as to the information sought, including as to “competition for the sale of any enalapril product.”

  Azurity objects to this request to the extent it seeks Privileged Documents. Azurity objects to this

  request on the grounds that it seeks the production of documents and things that contain proprietary

  business information, trade secrets, or other confidential information. Azurity objects to this request

  to the extent it is unreasonably cumulative and/or duplicative of other discovery requests. For




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  example, the documents requested herein are duplicative of at least Request Nos. 21, 22, 24, 25,

  26, 27, 44, 45, 46, 47, 48, 49, 51, 53, 60, 61, and 62. Azurity objects to this Request to the extent

  that it seeks information related to Bionpharma’s Antitrust Counterclaims.

         Pursuant to and without waiving the foregoing objections, Azurity will not produce

  documents and things responsive to this request.

  SUPPLEMENTAL RESPONSE:

         Notwithstanding and without waiving its General and Specific Objections, Azurity

  responds that, now that the parties’ joint agreement to stay antitrust discovery has been terminated

  and the Court has ruled on all pending motions under Fed. R. Civ. P. 12, Azurity will conduct a

  reasonable good faith search for non-privileged documents responsive to this request to determine

  if any responsive documents exist.

  REQUEST FOR PRODUCTION NO. 64:

         All documents, communications, and things relating to Azurity’s decision to sue, and/or to
  maintain any suit against, Bionpharma for alleged infringement of First Wave Patents, including:

         a.      All documents, communications, and things relating to the merits of Azurity’s
                 claims, including whether any objective basis exists for them;

         b.      All documents, communications, and things relating to the likelihood that Azurity
                 would obtain any relief on its claims;

         c.      All documents, communications, and things relating to Azurity’s legal and business
                 objectives from asserting the claims, including the effect of this and/or other patent
                 litigations on Bionpharma’s financial ability and/or willingness to defend against
                 the claims; and

         d.      All documents, communications and things relating to the effect of Azurity’s suing,
                 or maintaining any suit, against Bionpharma for alleged infringement of First Wave
                 Patents, including any effect on Azurity’s sales (in dollars or unit volume) or profit
                 margins for Epaned.




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  RESPONSE TO REQUEST FOR PRODUCTION NO. 64:

         Azurity incorporates by reference its General Statement, General Objections, and

  Objections to Bionpharma’s Definitions, Supplemental Definitions, and Instructions set forth above

  as if fully stated herein. Azurity objects to this request as overbroad, unduly burdensome, and not

  proportional to the needs of the case, especially with regards to the phrases “[a]ll documents,

  communications, and things” and “any suit.” Azurity objects to this request as vague, ambiguous,

  indefinite, unintelligible, and unclear as to the information sought, including as to “decision,”

  “merits,” “objective basis,” “relief,” “objectives,” “effect,” “financial ability,” and “willingness.”

  Azurity objects to this request to the extent it seeks Privileged Documents. Azurity objects to this

  request on the grounds that it seeks the production of documents and things that contain proprietary

  business information, trade secrets, or other confidential information. Azurity objects to this

  request to the extent it is unreasonably cumulative and/or duplicative of other discovery requests.

  For example, the documents requested herein are duplicative of at least Request Nos. 40, 41, 65,

  and 66. Azurity objects to this Request to the extent that it seeks information related to

  Bionpharma’s Antitrust Counterclaims.

         Pursuant to and without waiving the foregoing objections, Azurity will not produce

  documents and things responsive to this request.

  SUPPLEMENTAL RESPONSE:

         Notwithstanding and without waiving its General and Specific Objections, Azurity will

  conduct a reasonable good faith search for non-privileged documents responsive to this request to

  determine if any responsive documents exist.




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  REQUEST FOR PRODUCTION NO. 65:

         All documents, communications, and things relating to Azurity’s decision to sue, and/or to
  maintain any suit against, Bionpharma for alleged infringement of Second Wave Patents,
  including:

         a.      All documents, communications, and things relating to the merits of Azurity’s
                 claims, including whether any objective basis exists for them;

         b.      All documents, communications, and things relating to the likelihood that Azurity
                 would obtain any relief on its claims;

         c.      All documents, communications, and things relating to Azurity’s legal and business
                 objectives from asserting the claims, including the effect of this and/or other patent
                 litigations on Bionpharma’s financial ability and/or willingness to defend against
                 the claims; and

         d.      All documents, communications and things relating to the effect of Azurity’s suing,
                 or maintaining any suit, against Bionpharma for alleged infringement of Second
                 Wave Patents, including any effect on Azurity’s sales (in dollars or unit volume) or
                 profit margins for Epaned.

  RESPONSE TO REQUEST FOR PRODUCTION NO. 65:

         Azurity incorporates by reference its General Statement, General Objections, and

  Objections to Bionpharma’s Definitions, Supplemental Definitions, and Instructions set forth

  above as if fully stated herein. Azurity objects to this request as overbroad, unduly burdensome,

  and not proportional to the needs of the case, especially with regards to the phrases “[a]ll documents,

  communications, and things” and “any suit.” Azurity objects to this request as vague, ambiguous,

  indefinite, unintelligible, and unclear as to the information sought, including as to “decision,”

  “merits,” “objective basis,” “relief,” “objectives,” “effect,” “financial ability,” and “willingness.”

  Azurity objects to this request to the extent it seeks Privileged Documents. Azurity objects to this

  request on the grounds that it seeks information that is not relevant to the claims or defenses of any

  party to this case and not tailored to the needs of this case. The burden on Azurity of producing and

  disclosing this information vis-à-vis its minimal or nonexistent importance in resolving the issues

  in this case outweighs any purported need by Bionpharma. Azurity objects to this request on the


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  grounds that it seeks the production of documents and things that contain proprietary business

  information, trade secrets, or other confidential information. Azurity objects to this request to the

  extent it is unreasonably cumulative and/or duplicative of other discovery requests. For example,

  the documents requested herein are duplicative of at least Request Nos. 40, 41, 64, and 66. Azurity

  objects to this Request to the extent that it seeks information related to Bionpharma’s Antitrust

  Counterclaims.

         Pursuant to and without waiving the foregoing objections, Azurity will not produce

  documents and things responsive to this request.

  SUPPLEMENTAL RESPONSE:

         Notwithstanding and without waiving its General and Specific Objections, Azurity will

  conduct a reasonable good faith search for non-privileged documents responsive to this request to

  determine if any responsive documents exist.

  REQUEST FOR PRODUCTION NO. 66:

         All documents, communications, and things relating to Azurity’s decision to sue, and to
  maintain its suit against, Bionpharma for alleged infringement of Third Wave Patents, including:

         a.      All documents, communications, and things relating to the merits of Azurity’s
                 claims, including whether any objective basis exists for them;

         b.      All documents, communications, and things relating to the likelihood that Azurity
                 would obtain any relief on its claims;

         c.      All documents, communications, and things relating to Azurity’s legal and business
                 objectives from asserting the claims, including the effect of this and/or other patent
                 litigations on Bionpharma’s financial ability and/or willingness to defend against
                 the claims; and

         d.      All documents, communications and things relating to the effect of Azurity’s suing,
                 or maintaining any suit, against Bionpharma for alleged infringement of Third
                 Wave Patents, including any effect on Azurity’s sales (in dollars or unit volume) or
                 profit margins for Epaned.




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  RESPONSE TO REQUEST FOR PRODUCTION NO. 66:

         Azurity incorporates by reference its General Statement, General Objections, and

  Objections to Bionpharma’s Definitions, Supplemental Definitions, and Instructions set forth above

  as if fully stated herein. Azurity objects to this request as overbroad, unduly burdensome, and not

  proportional to the needs of the case, especially with regards to the phrases “[a]ll documents,

  communications, and things” and “any suit.” Azurity objects to this request as vague, ambiguous,

  indefinite, unintelligible, and unclear as to the information sought, including as to “decision,”

  “merits,” “objective basis,” “relief,” “objectives,” “effect,” “financial ability,” and “willingness.”

  Azurity objects to this request to the extent it seeks Privileged Documents. Azurity objects to this

  request on the grounds that it seeks information that is not relevant to the claims or defenses of any

  party to this case. The burden on Azurity of producing and disclosing this information vis-à-vis its

  minimal or nonexistent importance in resolving the issues in this case outweighs any purported

  need by Bionpharma. Azurity objects to this request on the grounds that it seeks the production of

  documents and things that contain proprietary business information, trade secrets, or other

  confidential information. Azurity objects to this request to the extent it is unreasonably cumulative

  and/or duplicative of other discovery requests. For example, the documents requested herein are

  duplicative of at least Request Nos. 40, 41, 64, and 65. Azurity objects to this Request to the extent

  that it seeks information related to Bionpharma’s Antitrust Counterclaims.

         Pursuant to and without waiving the foregoing objections, Azurity will not produce

  documents and things responsive to this request.




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  SUPPLEMENTAL RESPONSE:

         Notwithstanding and without waiving its General and Specific Objections, Azurity will

  conduct a reasonable good faith search for non-privileged documents responsive to this request to

  determine if any responsive documents exist.


                                                      MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                                      /s/ Megan E. Dellinger
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  March 28, 2023




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on March 28, 2023, copies of the foregoing were caused to be served

  upon the following in the manner indicated:

   John C. Phillips, Jr., Esquire                                      VIA ELECTRONIC MAIL
   Megan C. Haney, Esquire
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